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10
                              UNITED STATES DISTRICT COURT
11
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
                                    WESTERN DIVISION
13
     RONNA BANKS,                               No. 2:24-cv-03415-JAK-E
14
                Plaintiff,                      DEFENDANT’S NOTICE OF MOTION
15                                              AND MOTION TO DISMISS
                       v.                       PLAINTIFF’S FIRST AMENDED
16                                              COMPLAINT UNDER FED. R. CIV. P.
     UNITED STATES OF AMERICA, et al.,          8(a) AND 12(b)(1); MEMORANDUM OF
17                                              POINTS AND AUTHORITIES
                Defendants.
18                                              [(Proposed) Order filed concurrently
                                                herewith]
19
                                                Hearing Date:    March 3, 2025
20                                              Hearing Time:    8:30 a.m.
                                                Ctrm:            10C
21                                              Hon.             John A. Kronstadt
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 1                   NOTICE OF MOTION AND MOTION TO DISMISS
 2         PLEASE TAKE NOTICE that, on March 3, 2025 at 8:30 a.m., as soon thereafter
 3   as they may be heard, defendant United States of America (“United States”) will, and
 4   hereby does, move this Court for an order dismissing the First Amended Complaint
 5   (“FAC”) of plaintiff Ronna Banks (“Plaintiff”). This motion will be made before the
 6   Honorable John A. Kronstadt, United States District Judge, Courtroom 10C, located in the
 7   First Street Federal Courthouse, 350 W. 1st Street, Los Angeles, CA 90012.
 8         The United States brings the motion under Fed. R. Civ. P. 8(a) and 12(b)(1) because:
 9   (1) sovereign immunity bars Plaintiff’s first and third claims; and (2) Plaintiff fails to meet
10   federal pleading standards.
11         This motion is made upon this Notice, the attached Memorandum of Points and
12   Authorities, and all pleadings, records, and other documents on file with the Court in this
13   action, and upon such oral argument as may be presented at the hearing of this motion.
14         Pursuant to Local Rule 7–3 and the Court’s Standing Order (Dkt. 11), this motion
15   is made following conference of counsel on January 3, 2025.
16
      Dated: January 21, 2025               Respectfully submitted,
17
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18                                          Acting United States Attorney
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                                               /s/ Julian J. Xu
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 1                     MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.     INTRODUCTION
 3          Plaintiff’s FAC (Dkt. 26) is a misguided attempt to subject the United States to
 4   various building accessibility violations. The FAC begins with premises liability
 5   allegations under the Federal Tort Claim Act (“FTCA”) alleging that Plaintiff fell and
 6   suffered injuries. Plaintiff then lists alleged violations of the Architectural Barriers Act of
 7   1968 (“ABA”) and the Unruh Civil Rights Act (“Unruh Act”) while failing to identify any
 8   waivers of sovereign immunity to bring these claims. These claims therefore fail under
 9   Fed. R. Civ. P. 12(b)(1) for lack of subject matter jurisdiction and should be dismissed
10   with prejudice.
11   II.    PLAINTIFF’S ALLEGATIONS
12          Plaintiff alleges that on November 22, 2022, she arrived at a post office in San
13   Fernando, California. FAC ¶ 13. She traveled up a stairway while holding a handrail. Id.
14   ¶ 15. On her descent from that stairway, she allegedly fell and suffered injuries. Id. ¶¶ 15,
15   17. She alleges that the post office was negligently maintained. Id. ¶¶ 22, 24.
16          Plaintiff also alleges numerous accessibility violations the ABA and the Americans
17   with Disabilities Act (“ADA”). Id. ¶¶ 18, 23. Despite alleging that she has been to this
18   post office multiple times (id. ¶ 16), Plaintiff alleges that these alleged violations deter her
19   from returning. Id. ¶ 35.
20   III.   RELEVANT PROCEDURAL BACKGROUND
21          On April 25, 2024, Plaintiff filed her Complaint. Dkt. 1. The United States moved
22   to dismiss the Complaint on December 18, 2024. Dkt. 18. Plaintiff filed the FAC on
23   January 7, 2025, alleging (1) Dangerous Condition of Public Property, (2) Negligence –
24   Premises Liability, and (3) Violation of the Unruh Act against the United States and Does
25   1-50. Dkt. 26. After Plaintiff filed the FAC, the Court deemed the United States’ motion
26   to dismiss as moot on January 7, 2025, and dismissed Does 10-50. Dkt. 29. The United
27   States now moves to dismiss Plaintiff’s first and third claims for lack of subject matter
28   jurisdiction.
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 1   IV.   ARGUMENT
 2         A.     Plaintiff fails to plead a waiver of sovereign immunity as to her first
 3                and third claims.
 4         Plaintiff’s first and third claims should be dismissed with prejudice because Plaintiff
 5   fails to plead a waiver of sovereign immunity. Fed. R. Civ. P. 12(b)(1) allows for a motion
 6   to dismiss based on lack of subject matter jurisdiction. A plaintiff has the burden of
 7   establishing subject matter jurisdiction. See Kokkonen v. Guardian Life Ins. Co., 511 U.S.
 8   375, 377 (1994); Vacek v. U.S. Postal Serv., 447 F.3d 1248, 1250 (9th Cir. 2006).
 9         “It is axiomatic that the United States may not be sued without its consent and that
10   the existence of consent is a prerequisite for jurisdiction.” United States v. Mitchell, 463
11   U.S. 206, 212 (1983). “Absent a waiver, sovereign immunity shields the Federal
12   Government and its agencies from suit.” F.D.I.C. v. Meyer, 510 U.S. 471, 475 (1994). “A
13   waiver of sovereign immunity cannot be implied but must be unequivocally expressed.”
14   Tobar v. United States, 639 F.3d 1191, 1195 (9th Cir. 2011) (internal quotation marks and
15   citation omitted). Typically, only Congress may waive sovereign immunity. See id.
16   (finding that an SEC regulation and a letter from the United States embassy could not
17   effect a waiver of sovereign immunity since they were not acts of Congress); Goble v.
18   Ward, 628 F. App'x 692, 698 (11th Cir. 2015) (“[O]nly Congress can waive an agency's
19   sovereign immunity.”). The burden to show that sovereign immunity has been waived is
20   on the party bringing suit. Beals v. U.S. Dep't of Justice, 460 F. App'x 773, 775 (10th Cir.
21   2012).
22         Here, Plaintiff does not identify a waiver of sovereign immunity for her first claim,
23   “Dangerous Condition of Public Property.” This claim is purportedly brought under the
24   ABA, 42 U.S.C. § 4151 et seq. FAC ¶ 37. The ABA contains no waiver of sovereign
25   immunity and “does not provide a private cause of action under which [a] plaintiff may
26   raise a claim against a federal official.” Blackwell v. United States, 2019 WL 8953363,
27   2:15-cv-8968-PA-AFM, at *5 n.2. (C.D. Cal. Dec. 9, 2019); see also Fulton v. United
28   States, 198 F. App'x 210, 216 (3rd Cir. 2006) (the ABA “provid[es] no independent
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 1   statutory right of action ... nor ... an implied right of action”).
 2          Plaintiff also does not identify a waiver of sovereign immunity for her third claim,
 3   an alleged violation of the Unruh Act. Plaintiff alleges that “any violation of the ADA is
 4   a violation of the Unruh Civil Rights Act.” FAC ¶¶ 26–35, 56. Under the ADA, 42 U.S.C.
 5   § 12131(1), a “public entity” is defined as a state or local government or an agency of a
 6   state or local government. The United States Postal Service (“USPS”) is a federal agency.
 7   It is well established that “the federal government is excluded from coverage of the ADA.”
 8   Drevaleva v. Department of Veterans Affairs, 835 F. App’x 221, 223 (9th Cir. 2020); see
 9   also Bosworth v. United States, 2016 WL 4168852, 2:14-cv-498-DMG-SS, at *4 (C.D.
10   Cal. Aug. 5, 2016). (“Because the ADA’s definition of ‘public entity’ encompasses only
11   state and local governments and their instrumentalities, it is well settled that the ADA does
12   not provide a cause of action against the federal government.”).
13          These claims must therefore must be dismissed for lack of jurisdiction.
14          B.     The FTCA waives sovereign immunity only with respect to tort claims.
15          Should Plaintiff argue that the FTCA operates as a waiver of sovereign immunity
16   for these claims (see FAC ¶ 7), this argument is mistaken. The FTCA waives sovereign
17   immunity with respect to tort claims—that is, claims for “money damages . . . for injury
18   or loss of property, or personal injury or death caused by the negligent or wrongful act or
19   omission of any employee of the Government while acting within the scope of his office
20   or employment.” 28 U.S.C. § 1346(b)(1); see Colony First Fed. Sav. & Loan Ass’n v. Fed.
21   Sav. & Loan Ins. Corp., 643 F. Supp. 410, 416 (C.D. Cal. 1986) (“The FTCA is a limited
22   waiver of sovereign immunity with respect to claims sounding in tort . . . .”). Civil rights
23   actions not “sounding in tort” are not cognizable claims under the FTCA. See, e.g.,
24   Williams v. Fed. Deposit Ins. Corp., 2009 WL 1209029, at *2 (N.D. Ill. Apr. 30, 2009) (
25   “[a] violation of the Illinois Human Rights Act is a statutory violation, not a tort”);
26   Stringer v. White, No. 07-5516, 2008 WL 344215, at *5 (N.D. Cal. Feb. 6, 2008) (holding
27   that a claim for disability discrimination “is not a tort and does not fall under the FTCA”).
28          Claims under the ABA and the Unruh Act do not sound in tort. The ABA is a public
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 1   accommodations statute that prohibits discrimination against individuals “on the basis of
 2   disability.” 42 U.S.C. § 12182. Similarly, the Unruh Act “is a public accommodations
 3   statute that focuses on discriminatory behavior by business establishments.” Ramirez v.
 4   Wong, 188 Cal. App. 4th 1480, 1485 (2010); see Cal. Civ. Code § 51 (prohibiting
 5   discrimination in the provision of “accommodations, advantages, facilities, privileges, or
 6   services”). The conduct prohibited by these statutes sounds in discrimination—not “injury
 7   or loss of property, or personal injury or death.” Cf. 28 U.S.C. § 1346(b)(1). Accordingly,
 8   Plaintiff’s ABA and Unruh Act claims do not sound in tort and must be dismissed for lack
 9   of jurisdiction.
10   V.    CONCLUSION
11         For the forgoing reasons, the United States respectfully requests that the Court
12   dismiss Plaintiff’s ABA and Unruh Act claims with prejudice.
13
14    Dated: January 21, 2025        Respectfully submitted,
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24
                             Certificate of Compliance under L.R. 11-6.2
25
           The undersigned, counsel of record for the Federal Defendant, certifies that this
26
     brief contains 1,232 words, which complies with the word limit of L.R. 11-6.1.
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